




NO. 07-07-0447-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



FEBRUARY 19, 2008



______________________________



IN THE MATTER OF THE MARRIAGE OF



PATSY KENNAMER MCFADDEN AND ROYCE FRANK MCFADDEN 

_________________________________



FROM THE COUNTY COURT AT LAW NO. 2 OF LUBBOCK COUNTY;



NO. 2002-518,195; HONORABLE DRUE FARMER, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

On October 31, 2007, appellant Royce Frank McFadden filed his notice of appeal. &nbsp;The reporter’s record was filed on November 28, 2007 and the clerk’s record was filed on December 4, 2007. &nbsp;&nbsp;

By letter dated January 18, 2008, we notified appellant that he had failed to file his brief or a motion for extension of time by the January 3, 2008 deadline and noted that “unless Appellant’s brief is filed with this Court on or before Monday, January 28, 2008, or any extension of that deadline, this appeal is subject to dismissal without further notice.” &nbsp;T
EX
. R. A
PP
. P. 38.8(a).

No brief or motion for extension of time to file appellant’s brief has been received. &nbsp;Accordingly, notice having been given to all parties, we now dismiss the appeal for want of prosecution. &nbsp;T
EX
. R. A
PP
. P. 38.8(a)(1); 42.3.



James T. Campbell 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice










